     Case: 1:23-cv-04981 Document #: 43 Filed: 11/20/23 Page 1 of 3 PageID #:2281



                                 IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

ART ASK AGENCY,                                           )
                                                          )   Case No. 23-cv-4981
                Plaintiff,                                )
                                                          )
                                                          )    Judge John F. Kness
v.                                                        )
                                                          )
THE INDIVIDUALS, CORPORATIONS,                            )
LIMITED LIABILITY COMPANIES,                              )
PARTNERSHIPS AND UNINCORPORATED                           )
ASSOCIATIONS IDENTIFIED                                   )
ON SCHEDULE A HERETO,                                     )
                                                          )
                Defendants.                               )

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff ART ASK AGENCY
hereby dismisses with prejudice all causes of action in the complaint as to the Defendants identified
below and in Schedule A. No motions are pending relative to these Defendants. Each party shall bear its
own attorney’s fees and costs.


        No.     Defendant
        10      supmalls
        11      toy_market
        132     Fanxishi Art Poster
        133     Favorite gift
        142     lululululu
        155     TWSM
        164     ZTT

        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
   Case: 1:23-cv-04981 Document #: 43 Filed: 11/20/23 Page 2 of 3 PageID #:2282



                               Respectfully submitted,
Dated: November 20, 2023       By:    s/Michael A. Hierl             _
                                      Michael A. Hierl (Bar No. 3128021)
                                      William B. Kalbac (Bar No. 6301771)
                                      Robert P. McMurray (Bar No. 6324332)
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                                      Attorneys for Plaintiff
                                      ART ASK AGENCY
    Case: 1:23-cv-04981 Document #: 43 Filed: 11/20/23 Page 3 of 3 PageID #:2283



                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on November 20, 2023.



                                                           s/Michael A. Hierl
